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                              UNITED STATES DISTRICT COURT
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   13                        CENTRAL DISTRICT OF CALIFORNIA
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   15   SENNHEISER ELECTRONIC                     Case No.: CV11-07886 SJO (FMOx)
        CORPORATION, d/b/a SENNHEISER
   16   USA, a Delaware Corporation, and           [PROPOSED] PERMANENT
   17   SENNHEISER ELECTRONIC GMBH                 INJUNCTION AGAINST
        & CO. KG, a German Limited Liability       DEFENDANT TOMASZ
   18
        Company                                     CHUTKOWSKI
   19
                    Plaintiffs,
   20
   21                   v.
   22
        TOMASZ CHUTKOWSKI, an
   23   Individual, and Does 1-10, Inclusive,
   24
                   Defendants.
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   26   ///
   27   ///
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                                  [PROPOSED] PERMANENT INJUNCTION
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    1         The Court, pursuant to the Stipulation for Permanent Injunction
    2   (“Stipulation”), and separate Confidential Settlement Agreement between Plaintiffs
    3   SENNHEISER ELECTRONIC CORPORATION d/b/a SENNHEISER USA and
    4   SENNHEISER ELECTRONIC GMBH & CO.KG (“Plaintiffs”), on the one hand,
    5   and Defendant TOMASZ CHUTKOWSKI (“Defendant”) on the other, hereby
    6   ORDERS, ADJUDICATES and DECREES that a permanent injunction shall be
    7   and hereby is entered against Defendant in the above-referenced matter as follows:
    8         1.     PERMANENT INJUNCTION. Defendant and any person or entity
    9   acting in concert with, or at the direction of him, including any and all agents,
   10   servants, employees, partners, assignees, distributors, suppliers, resellers and any
   11   others over which he may exercise control, are hereby restrained and enjoined,
   12   pursuant to 15 U.S.C. § 1116, from engaging in, directly or indirectly, or
   13   authorizing or assisting any third party to engage in, any of the following activities
   14   in the United States and throughout the world:
   15                a.     copying, manufacturing, importing, exporting, marketing,
   16   selling, offering for sale, distributing or dealing in any product or service that uses,
   17   or otherwise making any use of, any of Plaintiffs’ trademarks, including but not
   18   limited to, the trademarks with the United States Patent and Trademark Office
   19   Registration Numbers: 0,813,211; 1,308,693; and 1,807,190, and/or any
   20   intellectual property that is confusingly or substantially similar to, or that
   21   constitutes a colorable imitation of, any of Plaintiffs’ trademarks, whether such use
   22   is as, on, in or in connection with any trademark, service mark, trade name, logo,
   23   design, Internet use, website, domain name, metatags, advertising, promotions,
   24   solicitations, commercial exploitation, television, web-based or any other program,
   25   or any product or service, or otherwise;
   26                b.    performing or allowing others employed by or representing him,
   27   or under his control, to perform any act or thing which is likely to injure Plaintiffs,
   28   any of Plaintiffs’ trademarks, including but not limited to the trademarks with the
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                                 [PROPOSED] PERMANENT INJUNCTION
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    1   United States Patent and Trademark Office Registration Numbers: 0,813,211;
    2   1,308,693; and 1,807,190 and/or Plaintiffs’ business reputation or goodwill;
    3                 c.    engaging in any acts of federal and/or state trademark
    4   infringement, false designation of origin, unfair competition, dilution, or other act
    5   which would tend damage or injure Plaintiffs; and/or
    6                 d.   using any Internet domain name or website that includes any of
    7   Plaintiffs’ trademarks including but not limited to the trademarks with the United
    8   States Patent and Trademark Office Registration Numbers: 0,813,211; 1,308,693;
    9   and 1,807,190.
   10         2.      Defendant is ordered to deliver immediately for destruction all
   11   allegedly unauthorized products, including counterfeit SENNHEISER®-branded
   12   products, labels, signs, prints, packages, wrappers, receptacles and advertisements
   13   relating thereto in his possession or under his control bearing any of Plaintiffs’
   14   intellectual property or any simulation, reproduction, counterfeit, copy or colorable
   15   imitations thereof, and all plates, molds, heat transfers, screens, matrices and other
   16   means of making the same, to the extent that any of these items are in Defendant’s
   17   possession.
   18         3.      This Permanent Injunction shall be deemed to have been served upon
   19   Defendant at the time of its execution by the Court, and the case shall be dismissed
   20   as to Defendant upon entry of this Permanent Injunction.
   21         4.      The Court finds there is no just reason for delay in entering this
   22   Permanent Injunction, and, pursuant to Rule 54(a) of the Federal Rules of Civil
   23   Procedure, the Court directs immediate entry of this Permanent Injunction against
   24   Defendant.
   25         5.      Defendant will be making an agreed-upon payment to Plaintiffs, as
   26   more particularly described in a separate Confidential Settlement Agreement.
   27         6.      NO APPEALS AND CONTINUING JURISDICTION.                             No
   28   appeals shall be taken from this Permanent Injunction, and the parties waive all
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                                [PROPOSED] PERMANENT INJUNCTION
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    1   rights to appeal. This Court expressly retains jurisdiction over this matter to
    2   enforce any violation of the terms of this Permanent Injunction.
    3         7.     NO FEES AND COSTS.                Each party shall bear its/her own
    4   attorneys’ fees and costs incurred in this matter.
    5
    6         IT IS SO ORDERED, ADJUDICATED and DECREED this 8th day of
    7   September, 2012.
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   10                                           _________________________________
                                                HON. S. JAMES OTERO
   11                                           United States District Judge
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                                 [PROPOSED] PERMANENT INJUNCTION
